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Aluminum Shapes USEPA Lead Off-Site Environmental Liability CERCLA §106 Sites


•     Ewan Superfund Site, Shamong Township, NJ


             o   National Priorities List Site; EPA ID #NJD980761365
             o   USEPA Estimated Costs:
             o   Aluminum Shapes Estimated Percentage Share of Costs: 2.42% cap
             o   Natural Resource Damages: (complaint filed)∗


•     D’Imperio Superfund Site, Hamilton Township, NJ


             o   National Priorities List Site; EPA ID #NJD980529416
             o   USEPA Estimated Costs:
             o   Aluminum Shapes Estimated Percentage Share of Costs: 1.86% cap
             o   Natural Resource Damages: (unknown at this time)


•     Swope Oil and Chemical Company Superfund Site, Pennsauken Township, NJ


             o   National Priorities List Site; EPA ID #NJD041743220
             o   USEPA Estimated Costs:
             o   Aluminum Shapes Estimated Percentage Share of Costs:
             o   Natural Resource Damages: (unknown at this time)




∗
    This claim is a NJDEP Claim.
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II. Aluminum Shapes USEPA Lead Off-Site Environmental Liability Non-CERCLA §106
    Sites


•   Puchack Wellfield, Pennsauken Township, New Jersey*


           o   National Priorities List Site; EPA ID #NJD981084767
           o   USEPA Estimated Costs – $17,000,000.00
           o   Aluminum Shapes Estimated Percentage Share of Costs
           o   Natural Resource Damages: (unknown at this time)


•   Lightman Drum Company Site, Winslow Township, NJ
          o CERCLA ID #02-2000-2034
          o USEPA Estimated Costs:
          o Aluminum Shapes Estimated Percentage Share of Costs: 1.90%
          o Natural Resource Damages: (unknown at this time)


•   Chemical Control Corporation, Elizabeth, NJ


           o National Priorities List Site; EPA ID #NJD000607481
           o USEPA Estimated Costs:
           o Aluminum Shapes Estimated Percentage Share of Costs: de minimis contributor;
             less than .0467% (believe Aluminum Shapes may have previously settled)
           o Natural Resource Damages: (unknown at this time)
           o (Liability may be resolved pursuant to a consent decree or settlement agreement
             and subject to confirmation)


•   Berks Associates/Douglassville Disposal, Douglassville, PA


           o National Priorities List Site; CERCLIS ID #PAD002384865
           o USEPA Estimated Costs:
           o Aluminum Shapes Estimated Percentage Share of Costs: de minimis contributor;
             0.15283% of past costs, 0.07803% future costs (Aluminum Shapes may have
             previously settled for $119,975.98 – awaiting confirmation)
           o Natural Resource Damages: (unknown at this time)
           o (Liability may be resolved pursuant to a consent decree or settlement agreement
             and subject to confirmation)



*      This site is also subject to NJDEP directives.
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III.   Aluminum Shapes New Jersey Department of Environmental Protection Lead Off-
       Site Environmental Liabilities




                                     - NONE -
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IV.      State Environmental Claims and Environmental Litigation


•     9000 River Road, NJDEP 1992 Directive and Notice to Insurers


             o Directed Aluminum Shapes to identify and address all sources contributing to
               chromium contamination in the soil and groundwater at Aluminum Shapes’
               facility and to prevent migration of chromium contamination.
             o Aluminum Shapes and NJDEP entered into a Memorandum of Agreement dated
               June 23, 1993 in which Aluminum Shapes agreed to undertake remedial activities
               and to pay 80% of the cost of performing those activities. Remediation at the site
               is ongoing.


•     Harris v. Advanced Supply Process Company, et al.; Superior Court of New Jersey, Camden
      County, Law Division, Docket No.: L-03815-02


             o Class action lawsuit in which Aluminum Shapes is identified as a defendant.
             o Plaintiffs allege that Aluminum Shapes was negligent in the operation of its metal
               plating business resulting in the discharge of hazardous substances to soil and
               groundwater.


•     Pennsauken Solid Waste Management Authority, et al. v. Ward Sand Material Co., Inc., et
      al., Superior Court of New Jersey, Camden County, Law Division, Docket No.: L-13345-91


             o Aluminum Shapes is identified as a defendant.
             o Plaintiffs allege that defendants are responsible for the surface and groundwater
               contamination at the Pennsauken Landfill.




•     Buzby Brothers Landfill, Voorhees, NJ


             o Not a National Priorities List Site: EPA ID #NJD000305524
             o USEPA Estimated Costs:
             o Aluminum Shapes Estimated Percentage Share of Costs: de minimis contributor
               (Aluminum Shapes may have previously settled for $60,000 subject to
               confirmation)
             o Natural Resource Damages: (yes, complaint filed)
             o (Liability may be resolved pursuant to a consent decree or settlement agreement,
               and subject to confirmation)
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